                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 In re:                                        )       Case No. 17-17361 (AIH)
                                               )
          Richard M. Osborne                   )       Chapter 11
                                                       )
                         Debtor                )       Judge Arthur I. Harris


            Objection of the United States Trustee to Motion of Richard M. Osborne
                           To Sell a Parcel of Real Property Located
                     at Concord-Hambden Road, Concord Township, OH
                   Free of Any Interest of Any Entity Other Than the Estate

          Daniel M. McDermott, United States Trustee for Region 9 , by and through his counsel,

 objects to the Motion of Richard M. Osborne To Sell a Parcel of Real Property Located at

 Concord-Hambden Road, Concord Township, OH Free of Any Interest of Any Entity Other

 Than the Estate (“Motion”). In support of said objection, the United States Trustee states as

 follows:

          1. Pursuant to 28 U.S.C. § 586, the United States Trustee is charged with the

 administrative oversight of cases commenced pursuant to Title 11 of the United States

 Bankruptcy Code. Pursuant to 11 U.S.C. § 307, the United States Trustee has standing to be

 heard in this matter.

          2. On December 17, 2017. Debtor filed a voluntary petition under chapter 11, title 11.

 To date, the Debtor remains in possession.

          3. On April 16, 2018, Debtor filed the Motion requesting the sale of real estate

 located at Concord-Hambden Road, Concord Township, OH to Sommers Real Estate Group

 or its nominee of the Debtor for $400,00. The Motion as filed does not contain sufficient

 information to allow the Court and parties to determine if this sale is appropriate.

          4. 11 U.S.C. § 363(b)(1) allows a bankruptcy court, after notice and hearing, to


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     authorize the sale of the debtor's assets outside the ordinary course of business. The Debtor

     has the burden of demonstrating a sound business purpose for the transaction. See Comm. of

     Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F. 2d 1063, 1071 (2nd Cir.

     1983).

              5. In this case, there is insufficient information to determine if the sale of this real

 estate is appropriate or is in the best interest of the estate. The Motion is silent as to any

 marketing that may have been done to sell the real estate. The Motion does not state if the

 transaction was negotiated at arms-length; if the purchase price is fair and reasonable; or if

 there have been any competing offers on the property or the ability for parties to present a

 competing offer. The Motion does not state if the buyer has the financial ability to consummate

 the sale.

              6. The Motion states the buyer will pay a broker’s commission to The Osborne Group-

 KW Commercial of $25,000. The Osborne Group-KW Commercial is owned by Debtor’s son

 Rick Osborne Jr. No application has been filed to employ a broker. No fees should be paid

 to the broker absent prior consent of the Court.

              7. The United States Trustee suggests that the Motion as filed contains insufficient

 information for this Court to approve.

              WHEREFORE, the United States Trustee respectfully requests this Honorable Court

 deny the Motion as filed and for such other relief as appropriate.


                                                                     /s/Maria D. Giannirakis
                                                                     Maria D. Giannirakis (0038220)
                                                                     U.S. Department of Justice
                                                                     Office of the U.S. Trustee
                                                                     Metzenbaum U.S. Courthouse
                                                                     201 E. Superior Ave., Ste. 441
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                                   CERTIFICATE OF SERVICE

       I certify that on May 15, 2018, a true and correct copy of Objection to Debtor’s Motion to
 Sell Property was served:

 Via the Court’s Electronic Case Filing System on these entities and individuals who are listed
 on the Court’s Electronic Mail Notice List:


        Gregory P. Amend        gamend@bdblaw.com, grichards@bdblaw.com
        Adam S. Baker       abakerlaw@sbcglobal.net, adam@bakerlaw.us;
         abakerlaw@gmail.com
        Robert D. Barr     rbarr@koehler.law, rbarr@koehler.law
        Christopher J. Klym       bk@hhkwlaw.com
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        United States Trustee       (Registered address)@usdoj.gov
        Michael S. Tucker       mtucker@ulmer.com
        Scott R. Belhorn ust35       Scott.R.Belhorn@usdoj.gov




                                                             /s/Maria D. Giannirakis
                                                             Maria D. Giannirakis (0038220)
                                                             U.S. Department of Justice
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